     Case 5:19-cv-02127-GW-JDE Document 19 Filed 01/11/21 Page 1 of 1 Page ID #:1394




 1
 2
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                                   EASTERN DIVISION
11
      EDUARDO CHE RODRIGUEZ,                 ) Case No. 5:19-cv-02127-GW (JDE)
12                                           )
                        Petitioner,          )
13                                           ) JUDGMENT
                         v.                  )
14                                           )
      JARED D. LOZANO,                       )
15                                           )
                                             )
16                      Respondent.          )
                                             )
17                                           )

18
19          Pursuant to the Order Accepting Findings and Recommendation of the
20    United States Magistrate Judge,
21
            IT IS ADJUDGED that the operative Petition is denied and this action
22
      is dismissed with prejudice.
23
24
      Dated: January 11, 2021
25
26
                                               ______________________________
27                                             GEORGE H. WU
28                                             United States District Judge
